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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

v.                                   Crim. Action No. 21-35-7 (EGS)

RONALD COLTON MCABEE,

                   Defendant.


                                 ORDER

     For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

     ORDERED that the government’s Motion for Review and Appeal

of Release Order, ECF No. 108, is GRANTED, and it is further

     ORDERED that defendant Ronald Colton McAbee shall be

detained pending trial; and it is further

     OREDERED that Mr. McAbee appear before the Court for the

previously scheduled status conference on February 7, 2022 at

1:00 PM via video teleconference.

     SO ORDERED.


Signed:           /s/                _
          Emmet G. Sullivan
          United States District Judge
          December 21, 2021
